          Case 1:19-cv-02367-ABJ Document 39 Filed 01/21/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                        )
PETER P. STRZOK,                                        )
                                                        )
                               Plaintiff,               )
                                                        )
                       v.                               )    Case No. 1:19-CV-2367-ABJ
                                                        )
WILLIAM P. BARR, in his official capacity               )
as Attorney General of the United States, et al.,       )
                                                        )
                               Defendants.              )
                                                        )


          PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE A SURREPLY

       Plaintiff hereby requests leave to file a file a surreply in opposition to Defendants’ Motion

to Dismiss or, in the Alternative, for Summary Judgment. Plaintiff’s surreply need not exceed

fifteen (15) pages and would be filed on or before January 31, 2020.           Defendants’ Reply

Memorandum advanced new arguments and attached a five-page declaration from former Deputy

Attorney General Rod Rosenstein with new, pre-discovery factual assertions. (See ECF No. 38,

38-1). Where a “movant raises arguments for the first time in his reply to the non-movant’s

opposition, the court [should] either ignore those arguments in resolving the motion or provide the

non-movant an opportunity to respond . . . .” Baloch v. Norton, 517 F. Supp. 2d 345, 348 n.2

(D.D.C. 2007); see also Alexander v. F.B.I., 186 F.R.D. 71, 74 (D.D.C. 1998) (finding “good

cause” for a surreply where Plaintiff would otherwise be “unable to contest matters presented to

the court for the first time in the form of [a] declaration”). Here, the government has effectively

filed a new summary judgment motion based on a new factual record. If the Court grants leave to




                                                    1
          Case 1:19-cv-02367-ABJ Document 39 Filed 01/21/20 Page 2 of 2




file a surreply, Plaintiff will also submit an amended declaration pursuant to Federal Rule of Civil

Procedure 56(d) therewith. Defendants do not oppose this motion.


Date: January 21, 2020                        Respectfully submitted,

                                              /s/ Aitan D. Goelman
                                              Aitan D. Goelman (DC Bar 446636)
                                              ZUCKERMAN SPAEDER LLP
                                              1800 M Street, NW, Suite 1000
                                              Washington, DC 20036
                                              Tel: (202) 778-1800
                                              AGoelman@zuckerman.com

                                              Counsel for Plaintiff




                                                 2
